[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.]DISCOVERY ORDER
The plaintiff's Motion For Permission To File Additional Discovery is granted in accordance with the following:
1. The objection filed by Bishop Walter Curtis, Bishop Edward M. Egan, and Bridgeport Roman Catholic Diocesan Corporation to the production of the listed documents is overruled.
2. The objection of defendant Charles Carr to producing documents 79, 94, 100 and 106, as set forth on the list of 138 pre-suit documents filed by the Diocese, is sustained. These documents contain psychological evaluations prepared in 1990. Defendant CT Page 10335 Carr's objection to producing documents 95, 97, 98, and 99 is sustained. Defendant Carr's objection to producing the other documents is overruled.
3. The terms of the protective order issued by Judge Levin in the case of George L. Rosado, et al v. Bridgeport Roman Catholic Diocesan Corporation, et al, CV93-0300272S, shall apply. A copy of the order is attached.
GEORGE N. THIM, JUDGE